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F . The Consultants /Enrol lers and The Marketing of the Plan as

     Health Insurance .

     133 . The Plan hired and paid "general consultants" and

"enrollers" to market and sell participation in the Plan to

employers and individual participants .

     134 . Individuals and/or small groups were recruited to join

the Union and the Plan      b y these so-called "general consultants"

and "enrollers ."

     135 . "General consultants" marketed and enrolled new

subscribers in the Plan .

     136 . "Enrollers" worked for generall consultants, but also

marketed the Plan and enrolled new subscribers in the Plan .

     137 . The so--called "general consultants" and "enrallers,"

who marketed the Plan as low-cost insurance to individuals, were

paid commissions from amounts collected from participants they

placed in the flan .

     138 . The so - called "general consultants" and "enrollers"

who marketed the Plan were in fact nothing more than insurance

agents or salespersons .           In    fact,       many      of      the

Consultants/Enrollers operated insurance companies at the same

time they were Consultants/Enrollers for the Plan .

     139 . The Plan was marketed to employers and potential

participants by "general consultants" and "enrollers," including


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the Consultants/Enrollers, as a health insurance plan for such

employees and potential participants .

       140 . On information and belief, each Consultants/Enroller

entered into a written IUIIW Organizer Agreement with the Union

that required the Consultants /Enrol ler to act as an organizer

for the Union and required the Consultants/Enrollee to do

activities related to organizing and operating union shops at

employers for the Union . No compensation of any form or type

was required to be paid to the Consultants /EnroZlers under the

IUIIW Organizer Agreements .

      141 . On information and belief, each Consultants /Enrol ler

entered into a written General Consultant Agreement with the

Plan at the same time they entered into the IUIIW Organizer

Agreement . The General Consultant Agreement required the

Consultants/Enrollers to solicit new participants in the Plan

and required the Plan pay the Consultants /Enrol lers "service

fees" for "in-force membership contributions" to the Plan based

on a service fee schedule and based on the number of

participants in the Plan solicited by the Consultants /Enrol ler

or   b y other Consultants /Enrollers working as sub-agents for the

Consultants/Enroller .

      142 .   Plan    participants            solicited          by     the

Consultants/Enrallers were permitted to become members of the


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Union regardless of whether they were employed or not ,

regardless of whether collective bargaining agreements were used

or entered into related to their membership, and regardless of

whether any union activities were performed or involved in

relation to their membership in the fake Union . Participants

were granted membership or beneficial membership in the Union

(and thus paid Union dues) to make those persons eligible for

health insurance coverage by the Plan .

     143 . Consultants lEnrallers would market the Plan as health

insurance to persons via the distribution of information about

the Plan while making little or no attempt to perform Union

related activities such as organizing union employees at an

employer or encouraging persons to become Union members because

of the Union related activities that could be performed on their

behalf by the Union .

     144 . The Consultants/Enrollers were marketing the Plan as

health insurance instead of performing Union related

organization activities, such as organizing union employees at

an employer or encouraging persons to become Union members

because of the Union related activities that could be performed

on their behalf .

     145 .   The Plan's Consultants/Enrollers knew or should have

known that they were marketing the Plan primarily as health


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insurance that stood on its own instead of as health insurance

that was a benefit of membership in the Union .                    These

Consultants /Enrol lezs also knew or should have known that Union

dues would be collected from each person they signed up as a

member or beneficial member of the Plan .

     146 . Consultants/Enrollers were not concerned with

organizing Union membership or providing Union related

activities or benefits for the persons they solicited .

Consultants/Enrollers were concerned instead with signing up

persons as beneficial members of the Plan to increase Plan

participation which, in turn, would increase their own earnings

from such Plan participation .

     147 . Instead of the Consultants /Enrol lers performing Union

organization activities, Consultants/Enrollers were encouraged

and compensated to work diligently to increase Plan

participation and bring in more Plan members .                         The

Consultants/Enrollers were encouraged to do this so that funds

could be obtained from such new participants and then used to

pay old and existing Plan claims . This propagated the pyramid

nature of the scheme .

     148 . This scheme was implemented to obtain and collect Plan

assets as alleged union dues and premium contributions to pay

funds to, among others, the Consultants /Enrollers as commissions


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and to pay funds to IUPIW, IUPTW Canadian Benefit Fund, and

George Beltz .

G . The Plan's Third Party Administrator .

     149 . Oak Tree Administrators, Inc . ("OTA") was the Plan's

sole third party administrator ("TPA") at all relevant times

between June 1, 2000 and June 2003 . OTA performed certain,

limited TPA duties for the Plan after June 2003 .

     150 . As the Plan's collections agent, OTA would collect

payments from employers of employees who were Plan members, from

employer associations and/or from Plan participants themselves .

     151 . Monies collected by OTA were Plan assets under the

governing Plan documents .

     152 . Plan "beneficial members" or their employers, if any,

generally paid their premiums to OTA who deducted a percentage

of the premiums as fees and remitted the remainder to the Union

and to the Plan .

     153 . Substantial sums of Plan assets, in the amount of

millions of dollars, flowed through OTA .

     154 . With the Plan assets it received, OTA also paid the

Consultants/Enrollers their commission payments, paid the

alleged dues payments to the Union, and paid IUPIW or its health

insurance welfare benefit fund, the IUPIW Canadian Benefit Fund .




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      155 . As of dune 2003, OTA paid ,                 Plan assets to

Consultants/Enrollers in the approximate total amount of

$ 1,670,622 .57 .   All of these funds came from the contributions

paid by Plan participants .

      156 . As of June 2003, OTA had paid at least $91,286 to

IUPIW or its health insurance welfare benefit fund, the IUPIW

Canadian Benefit Fund . Likewise, all of these funds came from

the contributions paid by Plan participants .

H . Lack of Underwritina ReaardinQ the Plan .

      157 . A key requirement for the financial health and

continued survival of a health insurance plan, particularly a

self-funded or partially self-funded one, is the performance of

proper underwriting so that the population of the plan is not

too "high risk" for the plan .

      158 . The financial health of an insurance plan depends, in

large measure, upon meaningful underwriting to avoid adverse

selection . Adverse selection, in the health insurance industry,

is the accumulation of persons with both more health problems

and more severe health problems who, thus, present higher risks

of payment to an insurer . Insurers attempt to prevent adverse

selection by use of an underwriting process, which is the

process of selecting and classifying exposures and declining to

provide coverage to certain defined high-risk persons . The only


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time that meaningful underwriting is not required is when a

large enough group is insured as a group because a large enough

group would include a natural dispersion of risks, both high and

low . However, if a group is not sufficiently large, such as if

individuals or small groups are allowed to join or to constitute

a plan, as was the case with the Plan, underwriting must be done

to prevent adverse selection .

     159 . Thus, a key requirement for the financial health and

continued survival of a health insurance plan is the performance

of proper underwriting so that the population of the plan is not

too high risk for the Plan . In other words, unless some

discrimination of Plan participants is done to prevent

enrollment of high cost claims such as persons with major or

chronic medical conditions, the Plan will have to pay a large

amount of high claims, resulting in decreased financial health

and eventually insolvency of the Plan .

     160 . There was no material, consistent or effective

underwriting of the Plan's self-funded program because no one

screened potential Plan participants for major or chronic

medical conditions .

     161 .   Although the Consultants/Enrollers exercised great

latitude in deciding whether or not an applicant should be

accepted, they performed no material or effective underwriting,


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including that they did not deny coverage to persons above a

certain age or with major or chronic medical problems .

     162 . On information and belief, the Plan Trustees, the

Union, and   OTA   relied on the Consultants /Enrol lers to perform

underwriting for the Plan, including the decision to deny

coverage to persons above a certain age or with major or chronic

medical problems . The Consultants/Enrollers were to accomplish

this underwriting by recruiting all employees at an employer to

be in the Union . This would prevent adverse selection by

ensuring that diverse groups of persons with a cross-section of

health and medical issues were placed in the Plan .

     163 . For the most part, the Consultants /Enrollers did not

recruit entire employer groups to be members of the Union .

Instead, the Consultants/Enrollees primarily sold the Plan as

health insurance and signed up individuals to the Plan . The

Consultants/Enrollees did so because they had a single

motivation when seeking new Plan participants, i, e ., to add Plan

participants and put business on the books of the Plan so that

their personal commission payments would increase .

     164 . The Consultants/Enrollees were motivated to add

participants to the Plan and not to underwrite the new

participants in the Plan because the Consultants /Enrollees, via

their contractual arrangements with the Plan, were compensated


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for the quantity of Plan participants they signed up to the

Plan .

         165 . Through these actions by the Consultants/Enrollers,

the Plan became relatively low cost health insurance available

to high-risk and high-claim cost individuals who took advantage

of the opportunity to obtain relatively low cost health

insurance via the Plan .

         166 . The inadequate underwriting of the Plan caused a

number of high-risk and high-claim cost individuals to be

members of the Plan and caused numerous high-cost claims to be

incurred by the Plan .

         167 . The inadequate underwriting of the Plan, along with

the Plan having insufficient funds from premium payments,

resulted in the Plan having claims in excess of funds available

to pay pending claims .

         168 . The Plan's insufficiency of funds to pay such claims

caused a backlog of numerous claims that were not paid .

I . Improper Receipt and Use of Funds bV IUPIW and IUPIW

         Canadian Benefit Fund .

         169 . The Plan and IUIIW entered into an alleged oral

affiliation agreement with the IUPIW and IUPIW Canadian Benefit

Fund in June 2000 .




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     170 .   The alleged oral affiliation agreement between the

Plan/IUIIW and the IUPIW/IUPIW Canadian Benefit Fund continued

until April 15, 2002 .

     171 . Under the alleged oral affiliation agreement between

the Plan/IUIIW and the TUPIW/IUPIW Canadian Benefit Fund, Plan

assets were paid to Defendants IUPIW, IUPIW Canadian Benefit

Fund, and George Beltz . Such payments were denoted as payments

for dues to the IUPIW and for premium payments to insurance

carriers . Such payments were allegedly in exchange for

including IUIIW Plan members in fully insured health insurance

coverage offered through the IUPIW Canadian Benefit Fund .

     172 . The alleged oral affiliation agreement between the

Plan/IUIIW and the IUPIW/IUPIW Canadian Benefit Fund was

supposedly terminated via letter on April       1 5, 2002 .

     173 .   Notwithstanding the supposed termination of the oral

affiliation agreement between the Plan/IUIIW and the IUPIW/IUPIW

Canadian Benefit Fund on April      15,   2002, the Plan continued to

make payments to the IUPIW/IUPIW Canadian Benefit Fund/George

Beltz for purported dues and for insurance carrier premiums

between April 2002 and September 2004 .

     174 . On November 1, 2002, IUIIW and IUPIW entered into a

written affiliation agreement by which Plan assets were paid to

IUPIW/IUPIW Canadian Benefit Fund/George Beltz for alleged


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premium payments to insurance carriers . Such payments were

allegedly in exchange for including IUIIW Plan members in fully-

insured health insurance coverage offered through the IUPIW

Canadian Benefit Fund .

         175 . Substantial amounts of Plan assets have been paid to

IUPIW//IUPIW Canadian Benefit Fund/George Beltz for these

alleged premium payments .

         176 . In addition to the alleged premium payments, Plan

assets have been paid as "dues" to the IUPIW . As of June 2003,

Plan assets totaling $91,286 had been paid to IUPIW and George

Beltz as alleged dues to IUPIW .

         177 . Additional Plan assets were paid to IUPIW and George

Beltz as alleged dues to IUPIW between June 2003 and September

2004 .

J . Deleterious Effects on the Plan and Plan Partici ants .

         178 . The financial health of the Plan decreased based on

the above-described actions of the Defendants to the point where

the Plan was unable to pay claims or ensure that claims were

paid .

         179 . [notwithstanding the Plan's severe problems in paying

claims, the Consultants/Enrollers continued to recruit

participants to join the Plan and continued to take their

commissions . Indeed, they recruited new participants


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specifically for the purpose and with the intention of using the

monies paid by the new participants to pay old, existing claims .

      180 . Though their efforts to "recruit" new Union members,

which by enlarge were merely efforts to sell health insurance to

individuals who otherwise could not obtain coverage elsewhere,

the Consultants/Enrollers charged and received payments/

commissions from funds rightfully belonging to the Plan . They

also obliged the Plan to cover insurance claims of individuals

who were high-risk . In many instances, while a particular

Consultant/Enroller may not have received large amounts of

commissions, his or her actions were nevertheless extremely

injurious to the Plan because of the claims presented by the

participants that particular Consultant/Enroller "recruited"

into the Plan .

     181 . Under their agreements with the Plan, the

Consultants/Enrollers focused their activities related to the

Plan merely on adding new Plan participants without focusing any

efforts on or paying any attention to Union organization

activities, the underwriting of Plan participants, the risk

being borne by the Plan related to such participants or the

ability of the Plan to pay the self-funded claims of such

participants .




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      182 . As of June 30, 2003, the Plan had unpaid claims

totaling $2,382,812 .55 .

      183 . As of April 2004, the Plan had unpaid claims totaling

at least $6,489,099 .17 .

      184 . The Plan's act of not paying claims had severe and

sometimes devastating effects on Plan participants .

      185 . Because claims were not being paid, Plan participants

were complaining to the Plan . These complaints were numerous

and continuous . Some participants also complained to state and

federal government regulators .

K . Action by State and Federal Government Regulators .

      186 .   The lack of payment of claims resulted in numerous

complaints by Plan participants to state insurance regulators

regarding the Plan's failures to pay claims as promised and

required .

     187 .    The spiraling unpaid health insurance claims of the

Plan drew the attention of various state departments of

insurance . The lack of payment of claims resulted in numerous

complaints to state insurance regulators, who, in turn, would

send information requests to the Plan .

     188 .    On August 9, 2001, the Oklahoma Insurance Commissioner

found the Plan to be subject to regulation by the Oklahoma

insurance department, asserted jurisdiction over the Plan, and


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ordered that the Plan's operators cease and desist all insurance

related activities in the state .

     189 . On January 10, 2002, the Texas Department of Insurance

asserted jurisdiction over the Plan and made an inquiry for

information regarding the Plan .

     190 . On January 31, 2002, the Alabama Insurance

Commissioner found the Plan to be subject to regulation by the

Alabama insurance department, asserted jurisdiction over the

Plan, and ordered that the Plan's operators cease and desist all

insurance related activities in the state .

     191 . On August 23, 2002, John Canary of the U .S . Department

of Labor sent a letter to Commissioner John W . Oxendine of the

Georgia Department of Insurance that stated, among other things,

that the Plan was subject to concurrent jurisdiction and

regulation by both the U .S . Department of Labor and the Georgia

Department of Insurance .

     192 . On September 6, 2002, representatives of the Georgia

Department of Insurance conducted a search and seizure at the

Union office at 1725 Windward Concourse, Alpharetta, Georgia .

     193 . On October 10, 2002, the Georgia Department o f

Insurance, after finding the Plan to be subject to regulation by

the Georgia insurance department, asserted jurisdiction over the

Plan and issued a cease and desist order ordering the Plan's


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operators to cease and desist all insurance related activities

in the State of Georgia .

     194 . Other state insurance departments had also asserted

jurisdiction over the Plan and were performing investigations

related to the Plan in 2002 and continuing in 2003 and 2004 .

These included the state insurance departments for Arkansas in

November 2003 ,   Florida in May 2003 ,    Illinois in November 2003 ,

North Carolina in July 2003, and, as noted above, Texas in

January 2002 .

     195 . Based upon complaints being lodged with the U .S .

Department of Labor by many of the Plan participants, the

Department of Labor began an investigation of the Plan and of

the Union .

     196 . On April 26, 2004, the Court, in the related case Chao

v . International Union of Industrial and Independent Workers, et

al ., No . 1 :04-CV-0943-Martin (the "Chao Case"), entered an Order

and Consent decree appointing Jeanne Bryant as Independent

Fiduciary of the Plan and substituting her for the Trustees of

the Plan for a period of forty-five days and for such additional

time as that court directed .

     197 . On September 7, 2004, the Court in the Chao Case

entered a Preliminary Injunction appointing Jeanne Bryant as

independent Fiduciary of the Plan and substituting her for the


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Trustees of the Plan "with plenary authority to administer the

[Plan] and its assets and to implement its orderly termination ."

        198 . In accordance with the September 7, 2004 order in the

Chao    Case, Independent Fiduciary terminated the Plan effective

October 1, 2004 .

L . Outstanding Unpaid Claims

        199 . The Fiduciary estimates that presently the Plan

presently has aggregate unpaid and outstanding claims of

approximately $9 .2 million that remain unpaid because of the

wrongful, improper, and/or negligent actions of the Defendants .

                                  V.   Claims

A . Breach of fiduciary duty by Consultants/Enrallers .

        200 . Fiduciary incorporates and adopts the allegations set

forth in Paragraphs 1 - 199 above as if the same were fully set

forth herein .

        201 . The Consultants/Enrollers were agents of the Plan and

owed fiduciary duties to the Plan because they sought Plan

participants by marketing and selling the Plan as health

insurance to such participants and because they were assigned

the task of performing the underwriting function for the Plan .

        202 . The Consultants/Enrollers breached the fiduciary

duties they owed the Plan by acting as insurance agents and

salesmen of the Plan instead of acting as Union representatives


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and recruiters and ensuring that only employees of employers who

had entered into valid collective bargaining agreements were

made members of the Plan .

     203 . The Consultants/Enrollers also breached their

fiduciary duties to underwrite the Plan by signing up any and

all members, including beneficial members, without any

discrimination as to characteristics that an underwriter would

normally perform .

     204 . These breaches of fiduciary duty by the

Consultants/Enrollers were the direct and proximate cause of and

resulted in the Plan failing because the health insurance Plan

collapsed and became more deeply insolvent from being confronted

with high and ballooning claims in comparison to insufficient

funds to pay such claims .

B . Negligence

     205 . Fiduciary incorporates and adopts the allegations set

forth in Paragraphs 1-204 above as if the same were fully set

forth herein .

     206 . The Consultants/Enrollers negligently failed to

perform duties owed to the Plan .

     207 . The Consultants /Enrol lers owed duties to the Plan to

perform the underwriting for the Plan to ensure that high-risk

participants were not allowed in the Plan and also owed a duty


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to Plan participants whom they placed in the Plan to ensure that

the Plan was a valid Plan with sufficient financial status to

pay claims as promised to such Plan participants .

     208 . The Consultants/Enrollers breached those duties by

enrolling any and all Plan participants, including beneficial

members, without ensuring that the Plan was a legitimate Union-

sponsored Plan that had sufficient financial status to pay

claims as it promised to do and without any performance of any

functions that an underwriter would normally perform, such as

determining the age or major or chronic medical condition of

potential Plan participants .

     209 . The breaching of these duties to the Plan caused

damages to the Plan of the unpaid outstanding claims that exist

because funds would have been available and those claims would

have been paid had the Plan been properly underwritten or those

now unpaid claims would never have been incurred had the

Consultants/Enrollees refused to deal with the sham IUIIW .

C . Nealiaent and/or Fraudulent Misrepresentation to the Plan

     and Plan Participants .

     210 . Fiduciary incorporates and adopts the allegations set

forth in Paragraphs 1-209 above as if the same were fully set

forth herein .




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     211 . The Consultants/Enrollers committed negligent or

fraudulent misrepresentation by negligently or intentionally

making false statements to existing and future Plan participants

that the Plan participants reasonably and justifiably relied

upon in joining the Plan and/or remaining in the Plan and that

caused damages to the Plan and its participants .

     212 . The Consultants/Enrollers each made representations of

fact to existing and future Plan participants that the Plan was

financially able to provide them with the health insurance

coverage and benefits set forth in the Plan's Summary Plan

Description and other documents including benefits information

packets in exchange for the payment of the required premiums and

alleged Union dues .

     213 . These representations made by the Consultants/

Enrollers to Plan participants were untrue when they were made

because the Plan was not financially able to provide Plan

participants with the health insurance coverage and benefits set

forth in the Plan's Summary Plan Description and other documents

including benefits information packets .

     214 . The Consultants/Enrollees knew or should have known

that such representations to the Plan participants were false

through the exercise of reasonable care on their parts to learn

that Plan participants '    claims were not being paid and that the


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Plan did not have monies sufficient to make such payments of

such claims on an ongoing basis, and were negligent in making

such false representations to Plan participants without first

learning whether the Plan had the financial ability to provide

the health insurance coverage and benefits that the Plan

represented it could and would provide .

     215 . The untrue statements and representations made by the

Consultants /Enrallers regarding the Plan's financial ability to

provide the stated health insurance coverage and benefits were

made to induce existing members to continue paying monies to the

Plan and Union and to induce potential members to join the sham

Union and Plan so that their monies could be paid to the Union

and Plan and then distributed to the Consultants/Enrollers .

     216 . Plan participants acted in justifiable reliance on

such false representations made by the Consultants/ Enrollers in

making payments or authorizing payments to be made to the Plan .

     217 . The Plan and its participants were harmed because the

participants' claims were not paid and the insolvency of the

Plan deepened .

     218 . The Consultants /Enrol l ers, through the presentation of

a new participant to the Plan, each made representations to the

Plan that the new participant was appropriately qualified for




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Plan participation and that adequate underwriting efforts had

been applied to the new participant .

     219 . In many cases, the new participants were known to the

Consult ants / Enrol lers to be individuals who were not part of

appropriate employee groups, individuals who were not working

pursuant to collective bargaining arrangements, and individuals

who had health histories that were high risk . In those

instances, the Consultants/Enrollers misrepresented to the Plan

the qualification for these new participants to be enrolled into

the Plan .

     220 . The flan relief upon the Consultants/Enrollers'

representation that a new participant was qualified for

enrollment and accepted those individuals as participants which,

in turn, led to numerous high cost claims being lodged with the

Plan for payment, which, in turn, contributed to the insolvency

or the deepening of the insolvency the Plan now faces .

D . Aiding and Abetting Fiduciary Breaches Under Common Law and

     ERISA Section 502

     221 . Fiduciary incorporates and adopts the allegations set

forth in Paragraphs 1-220 above as if the same were fully set

forth herein .

     222 . The Consultants/Enrollers, IUPIW, IUPIW Canadian

Benefit Fund, and George Beltz aided and abetted the breaches of


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fiduciary duty by the Plan's Trustees, causing damages to the


Plan .


         223 . The Consultants/Enrollers,      IUPIW,    IUPIW Canadian

Benefit Fund, and George Beltz knew that the Plan Trustees'

conduct in failing to properly operate the Plan constituted

breaches of their fiduciary duties owed to Plan participants .

         224 . The Consultants/Enrollers,      IUPIW,    IUPIW Canadian

Benefit Fund, and George Beltz, through agreement with one

another ox otherwise, gave substantial assistance or

encouragement to the Trustees in doing so by taking actions that

specifically allowed the Plan to offer health insurance to Plan

participants while knowing that claims were not being paid and

could not be paid or while knowing that claims, both actual and

expected, would well out-strip assets or while knowing that

premium rates were insufficient to allow the Plan to pay claims

as required .

         225 . But for the assistance given to the Plan Trustees

and/or the conspiracy to provide such assistance by the

Consultants /Enrol lers, IUPIW, IUPIW Canadian Benefit Fund, and

George Beltz, the Plan Trustees would not have been able to

breach their fiduciary duties to cause harm to the Plan

participants because the Plan would not have been able to offer




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and promise health insurance coverage and benefits to Plan

participants .

      226 . Additionally, the Consultants lEnrollers, IUPIW, IUPIW

Canadian Benefit Fund, and George Beltz assisted and/or

conspired to assist each other in actions which violated or

allowed the violation of law . These aiding and abetting and

conspiratorial actions range from, without limitation, the

illegal perpetuation of the Union as a sham to the unlawful

marketing of the Plan's health insurance to the improper

diversion and use of Plan assets to themselves .

      227 .   The   aiding      and   abetting       actions      by    the

Consultants /Enrol lers, IUPIW, IUPIW Canadian Benefit Fund, and

George Beltz were the direct and proximate cause of the damages

suffered by the Plan and Plan participants in an amount to be

proved at trial .

E.    Federal and State Civil RICO Violations

      228 . Fiduciary incorporates and adopts the allegations set

forth in Paragraphs 1-227 above as if the same were fully set

forth herein .

      229 . The Consultants/Enrollers, IUPIW, IUPIW Canadian

Benefit Fund, and George Beltz (each individually a "RICO

Defendant" and collectively, the "RICO Defendants") violated




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Section 1962 (c) of RICO, 18 U .S .C . § 1962 (c) and 0 .C .G .A . § 16-



     230 . The RICO Defendants' actions violated the unlawful

conversion of Plan assets statute, 18 U .S .C . Section 664, and

the mail and wire fraud statute, 18 U .S .C . Section 1341, as well

as Georgia statutes making it unlawful to sell invalid or

unauthorized insurance .

     231 . A civil racketeering, corrupt, and fraudulent

enterprise was formed by the alleged Union, the Plan, and

others, including the RICO Defendants, to sell health insurance

as a benefit of membership in the Union when, in fact, it was

known that the Union was a sham . The real purpose of their

activities was to obtain monies for payment of various persons

involved with or associated with the enterprise, including the

Consultants/Enrollees, IUPIW, IUPIW Canadian Benefit Fund, and

George Beltz using Plan funds . The fraudulent scheme that was

the enterprise allowed the RICO Defendants and others to avoid

state insurance regulations that would have imposed requirements

on the Plan that would have prevented the RICO Defendants and

others from obtaining funds from the sale of the purported

legitimate health insurance in the Plan .

     232 . The enterprise was engaged in or affecting interstate

commerce .


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     233 . The RICO Defendants were associated with the

enterprise . Each RICO Defendant conducted or participated in

this pattern and/or some portions of this pattern of

racketeering .

     234 . The pattern of racketeering activity associated with

the enterprise included the activities of           (1)   using the sham

Union and its alleged union activities as a front to offer

health insurance including to beneficial members who were not

members via proper collective bargaining agreements ; (2)

operating the Plan as a self-funded plan while failing to ensure

proper underwriting was done regarding the Plan ; and t3} using

the pyramid-scheme of signing up of new members for health

insurance to use their money to pay for previously outstanding

claims when the RICO Defendants knew that claims were not being

paid, that funds were not available to pay claims, that

sufficient underwriting actions had not been taken to properly

set and collect rates to support the insurance program, and that

sufficient accounting and actuarial analysis had not been done

to support the insurance program .

     235 . Each RICO Defendant either 1) knowingly agreed to

commit and did commit two or more predicate acts in furtherance

of a common unlawful purpose or 2) with deliberate ignorance did




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commit two or more predicate acts in furtherance of a common

unlawful purpose .

     236 . The Consultants /Enrol lers performed predicate acts in

furtherance of the fraudulent scheme described herein each time

they made representations to existing and potential Plan

participants that the Plan would pay for insurance benefits in

exchange for the payment of premiums and further implicitly

representing that the Plan was financially sound and able to do

so while knowing that the Plan, in fact, was not paying claims .

The Consultants/Enrollers made these false representations

orally and in writing and made such misrepresentations via the

mail and wires .

     237 . Additional predicate acts of the Consultants /Enrol lers

were to sign up members and beneficial members for health

insurance in the Plan . These Consultants/Enrollees did these

predicate acts while knowing and/or with deliberate ignorance

that the Plan was without funds to pay claims .                    These

Consultants/Enrollees did so knowing or with deliberate

ignorance as to the risks of high dollar amount claims that

existed regarding the "recruited" members .                      These

Consultants/Enrollees also did these predicate acts without any

intent for the Plan to provide Union benefits to the members and

without the Consultants/Enrollees performing any underwriting


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function for the Plan . But for the predicate actions of these

RICO Defendants, the fraudulent scheme described herein would

not have succeeded because the Plan would not have been marketed

and sold to participants whose claims the Plan failed to pay

and/or the Plan would have terminated well prior to October 2004

and thus would not have spiraled deeper into the insolvent state

it was in as of October 2004 and it is in presently .

     238 . Predicate acts of IUPIW, IUPIW Canadian Benefit Fund,

and George Beltz were to purport to provide fully-insured health

insurance coverage to certain Plan participants in order to

obtain payments of thousands of dollars of Plan assets to IUPIW

and George Beltz for alleged union dues and to obtain payments

of hundreds of thousands of dollars of Plan assets for alleged

fully-insured health insurance premiums, when Plan assets should

never have been paid for such alleged purposes .

     239 . The pyramid fraud scheme was continued until the Plan

collapsed from the weight of claims not being paid and was not

stopped by the actions of the RICO Defendants .

     240 . The RICO Defendants, through knowing and/or deliberate

ignorant actions, contributed to and allowed the fraudulent

scheme to be done because they were being compensated and they

wanted to continue to be compensated .




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     241 . None of the RICO Defendants took action to stop the

Plan from performing this pyramid fraud scheme .

     242 . None of the RICO Defendants took action to stop the

Plan from taking payments from individuals when they knew the

Plan was unsound and could not pay claims and/or knew of the

sham nature of the Union .

     243 . Instead, the RICO Defendants assisted and/or

facilitated the violation by the Plan Trustees                  o f their

fiduciary duties to the Plan participants and assisted and/or

facilitated the perpetration of fraud on Plan participants

(e . g ., the taking of fees while representing that their health

claims would be paid) .

     244 . The RICO Defendants could have refused to participate

in the perpetration of the fraud on Plan participants .

     245 . Had the RICO Defendants refused to allow the fraud to

be perpetrated on the Plan participants, the Plan would not have

been able to perpetrate such fraud on Plan participants and the

insolvency of the Plan would not have been deepened .

     246 . But for the actions of the RICO Defendants, the fraud

that was perpetrated on the Plan participants would not have

occurred and the Plan assets paid by the Plan participants would

not have been wrongfully taken and used for purposes other than




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obtaining and securing health insurance coverage for the Plan

participants .

      247 . In addition to the fraudulent scheme described above,

the RICO Defendants engaged in mail and wire fraud as the

predicate acts for RICO liability because they used the United

States mail in furtherance of the fraudulent scheme herein

described .

       248 . The Plan suffered harm and damages caused by the

predicate acts of the RICO Defendants .

      249 . The Plan lost assets that were wrongfully paid to the

Defendants and lost assets that were wrongfully paid as fees to

the sham Union and spent by the sham Union .

      250 . The damages to the Plan from the racketeering

activities include the amount of outstanding unpaid claims of

the Plan, which are approximately $9 .2 million .

      251 . The Plan's damages also include the amounts paid to

the Consultants/Enrollees, which was approximately

$1, 670, 622 . 57 .

      252 . The Plan's damages also include the amounts paid to

IUPIW, IUPIW Canadian Benefit Fund, and George Beltz as alleged

dues and premium payments, which specific amount will be proved

at trial, but is in the hundreds of thousands of dollars .




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     253 . The RICO violations by the RICO Defendants set forth

above were the direct and proximate cause of the Plan's losses

and injuries .

F . Federal and State Civil RICO Conspiracy and Common Law

     Civil Conspiracy

     254 . Fiduciary incorporates and adopts the allegations set

forth in Paragraphs 1-253 above as if the same were fully set

forth herein .

     255 . The Consultants/Enrollers, IUPIW, IUPIW Canadian

Benefit Fund, and George Beltz agreed to achieve the unlawful

and illegal objectives of wrongfully converting Plan assets to

their own uses and purposes in violation of 18 U .S .C . Section

664 and using the mails and wires to communicate

misrepresentations to the Plan and to existing and potential

Plan participants in violation of 18 U .S .C . Section 1341 .

     256 . The Consultants/Enrollers, IUPIW, IUPIW Canadian

Benefit Fund, and George Beltz each performed multiple overt

acts in furtherance of their illegal and unlawful objectives of

converting Plan assets to their own uses and purposes and using

the mails and wires to communicate misrepresentations to the

Plan and to existing and potential Plan participants .

     25 -7 .   The   agreement        and    overt      acts     of    the

Consultants/Enrollers, IUPIW, IUPIW Canadian Benefit Fund, and


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George Beltz caused injury and harm to the Plan and its

participants because the converted Plan assets should not have

been so converted and the Plan participants were harmed and

injured by providing funds to the Plan for health insurance

coverage that was not provided, thereby resulting in claims of

the Plan not being paid .

     258 . The Consultants/Enrollers, IUPIW, IUPIW Canadian

Benefit Fund, and George Beltz violated Section         1962(d)     of RICO,

18 U .S .C . § 1962(d) and O .C .G .A . Section 16-14-4(c) .

     259 . The Consultants/Enrollers,          I UPIW, IUPIW Canadian

Benefit Fund, and George Beltz violated Section           1962(d)     of the

federal RICO statute and O .C .G .A . Section 16-14-4(c) because,

through the same actions described in Part F above and through

the actions described in this cause of action, each RICO

Defendant knowingly agreed to commit and/or were deliberately

ignorant in their involvement in two or more predicate acts in

furtherance of a common unlawful purpose, thereby conspiring to

violate Section 1962(c) and O .C .G .A . Section 16-14-4(c) .

     260 . The Consultants/Enrollers, I U PIW, IUPIW Canadian

Benefit Fund, and George Beltz also committed common law

conspiracy based on the actions described in this cause of

action and are liable for such under Georgia law .




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G . Conversion .

      261 . Fiduciary incorporates and adopts the allegations set

forth in Paragraphs 1-260 above as if the same were fully set

forth herein .

      262 . The Consultants/Enrollers, IUPIW, IUPIW Canadian

Benefit Fund, and George Beltz have intentionally exercised

dominion, possession, and control over Plan assets/funds which

rightfully belong to the Plan for the payment of participant

claims .

      263 . The Consultants/Enrollers, IUPIW, IUPIW Canadian

Benefit Fund, and George Beltz have converted Plan assets to

their own personal use and possession . This conversion has been

as   to    all    of    the supposed commissions paid to the

Consultants/Enrollers . This conversion has also been as to all

of the supposed dues that were taken from payments to the Plan

and diverted to IUPIW and George Beltz and alleged premium

payments that were taken from payments to the Plan and diverted

to IUPIW, IUPIW Canadian Benefit Fund, and George Beltz .

      264 . The Consultants /Enrallers have taken possession of and

have refused to return Plan assets/funds in an amount of not

less than $1,670,622 .57 .




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     265 . IUPIW, IUPIW Canadian Benefit Fund, and George Beltz

have taken possession of and have refused to return Plan

assets/funds in an amount of hundreds of thousands of dollars .

     266 . The Plan has been proximately damaged through these

above-stated acts of conversion .

H . Breach of Contract by the Consultants/Enrollers .

     267 . Fiduciary incorporates and adopts the allegations set

forth in Paragraphs 1-266 above as if the same were fully set

forth herein .

     268 . The Consultants/Enrollers were each a party to a

written General Consultant Agreement with the Plan and were also

each a party to an IUIIW Organizer Agreement with the Union .

     269 . As a result of the IUIIW Organizer Agreement of each

Consultant /Enrol ler ,   an implied term in each General Consultant

Agreement with the Plan was that the Consultant / Enrol ler would

bring participants into the Union by organizing employers as

Union shops, thereby providing the underwriting to the Plan by

preventing adverse selection .

     270 . The Consultants/Enrollers each breached their

respective General Consultant Agreement with the Plan by failing

to properly underwrite the Plan by failing to organize employers

as anion shops, but instead recruiting Plan participants as




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individuals or small groups who joined the Plan as beneficial

members of the Union .

         271 . The breaches of the General Consultant Agreements by

the Consultants/Enrollers caused financial damages to the Plan

in an amount to be proved at trial .

I . Breach of Contract by IUPIW and IUPIW Canadian Benefit

         Fund .

         272 . Fiduciary incorporates and adopts the allegations set

forth in Paragraphs      1 -271 above as if the same were fully set

forth herein .

         273 . IUPIW and IUPIW Canadian Benefit Fund were parties to

the oral affiliation agreement with the Plan and IUIIW between

June 2000 and April 2002 and the written affiliation agreement

with the Plan and IUIIW between November 2002 and September

2004 .

         274 . IUPIW and IUPIW Canadian Benefit Fund breached the

oral and written affiliation agreements by failing to provide

adequate consideration to the Plan in exchange for the monies

paid as dues and premium payments .

         275 . The breaches of the by IUPIW and IUPIW Canadian

Benefit Fund caused financial damages to the Plan in an amount

to be proved at trial .




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J . Money .      Had and Received/Unjust     Enrichment/Quantum        Merit/

         Constructive Trust .

         276 . Fiduciary incorporates and adopts the allegations set

forth in Paragraphs 1-275 above as if the same were fully set

forth herein .

         277 . The Consultants/Enrollers, IUPIW, IUPIW Canadian

Benefit Fund, and George Beltz all received money that belonged

to the Plan and regarding which they have no entitlement to

keep .

         278 . In equity and good conscience, none of the

Consultants/Enrollees, IUPIW, IUPIW Canadian Benefit Fund, and

George Beltz have entitlement to the entirety of the funds so

received and all hold such funds (or portions thereof) in

constructive trust for the benefit of the Plan and the claims of

its participants .

         279 .   In   equity    and       good   conscience,           the

Consultants/Enrollees, IUPIW, IUPIW Canadian Benefit Fund, and

George Beltz retaining the amounts received by them would

constitute unjust enrichment as to those funds .

         280 . The Consultants/Enrollees were collectively unjustly

enriched by at least the amount of $1,670,622 .57 .




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      281 . IUPIW, IUPIW Canadian Benefit Fund, and George Beltz

were collectively unjustly enriched by hundreds of thousands of

dollars .

      282 . The Plan has been proximately damaged to the amount of

its assets/funds that have been had and received by these

Defendants and/or to the amount that these Defendants have been

unjustly enriched by retaining the amounts received by these

Defendants .

                         VI .   Prayer For Relief

      WHEREFORE, premises considered, Fiduciary respectfully

requests that the Court grant and award Fiduciary the following

relief :

      1 . Regarding Fiduciary's breach of fiduciary duty claims

against the Consultants/Enrollers, Fiduciary requests that

judgment be entered in Fiduciary's favor and against the

Consultants/Enrollees for the damages caused by their breaches

of their fiduciary duties and for all sums paid to them by the

Plan, plus pre- and post-judgment interest thereon at the

maximum permissible legal rate ; and that the Court award

Fiduciary the costs and expenses that have been incurred ;

      2 . Regarding Fiduciary's negligence claims against the

Consultants/Enrollers, Fiduciary requests that judgment be

entered        in   Fiduciary's           favor   and    against       the


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Consultants/Enrollers for the damages caused by their negligent

conduct and for all sums paid to them by the Plan, plus pre- and

post- judgment interest thereon at the maximum permissible legal

rate ; and that the Court award Fiduciary the costs and expenses

that have been incurred ;

     3 . Regarding Fiduciary's negligent or fraudulent

misrepresentation claims against the Consultants/Enrollers,

Fiduciary requests that judgment be entered in Fiduciary's favor

and against the Consultants /Enrol lers for the damages caused by

their fraudulent conduct or negligent misrepresentations and for

all sums paid to them by the Plan, plus pre- and post- judgment

interest thereon at the maximum permissible legal rate ; and that

the Court award Fiduciary the costs and expenses that have been

incurred ;

     4 . Regarding Fiduciary's aiding and abetting claims

against the Consultants/Enrollers, IUPIW, IUPIW Canadian Benefit

Fund, and George Beltz, Fiduciary requests that judgment be

entered in Fiduciary's favor and against the Consultants/

Enrollers, IUPIW, IUPIW Canadian Benefit Fund, and George Beltz

for the damages caused by their aiding and abetting conduct and

for all sums paid to them by the Plan, plus pre- and post-

judgment interest thereon at the maximum permissible legal rate ;




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and that the Court award Fiduciary the costs and expenses that

have been incurred ;

     5 . Regarding Fiduciary's federal and state civil RICO

claims, Fiduciary requests that judgment be entered in

Fiduciary's favor and against the Consultants/Enrollers, IUPIW,

IUPIW Canadian Benefit Fund, and George Beltz, jointly and

severally, for the damages caused by their violations of the

RICO statute and for all sums paid to them by the Plan, plus

pre and post- judgment interest thereon at the maximum

permissible legal rate ; that the Court award Fiduciary her

attorneys' fees and award enhanced/trebled damages as allowed by

relevant statute ; and that the Court award Fiduciary the costs

and expenses that have been incurred related to this action ;

     6 . Regarding Fiduciary's federal and state civil RICO

conspiracy and common law civil conspiracy Fiduciary requests

that judgment be entered in Fiduciary's favor and against the

Consultants/Enrollers, TUPTW, IUPIW Canadian Benefit Fund, and

George Beltz, jointly and severally, for the damages caused by

their violations of the RICO statute and for all sums paid to

them by the Plan, plus pre- and post- judgment interest thereon

at the maximum permissible legal rate ; that the Court award

Fiduciary her attorneys' fees ; and that the Court award




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Fiduciary the costs and expenses that have been incurred related

to this action ;

     7 . Regarding fiduciary's conversion claims against the

Consultants /EnrollErs, IUPIW, IUPIW Canadian Benefit Fund, and

George Beltz, Fiduciary requests that judgment be entered in

Fiduciary's favor and against the Consultants /Enrol lers, IUPIW,

IUPIW Canadian Benefit Fund, and George Beltz for the damages

caused by their conduct and for all sums paid to them by the

Plan, plus pre- and post- judgment interest thereon at the

maximum permissible legal rate ; and that the Court award

Fiduciary the costs and expenses that have been incurred ;

     8 . Regarding Fiduciary's breach of contract claims

against the Consultants/Enrollers, TUPIW, and IUPIW Canadian

Benefit Fund, Fiduciary requests that judgment be entered in

Fiduciary's favor and against the Consultants /Enrol lers, IUPIW,

and IUPIW Canadian Benefit Fund finding that they breached their

agreements with the Plan and that those persons and entities are

liable for all damages caused thereby, including a refund of all

of the monies paid by the Plan to them .

     9 . Regarding Fiduciary's money had and received, unjust

enrichment, quantum meruit, and constructive trust claims

against the Consultants/ Enrollees, IUPIW, IUPIW Canadian

Benefit Fund, and George Beltz, Fiduciary requests that judgment


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be entered in Fiduciary's favor and against the

Consultants/Enrollers, IUPIW, IUPIW Canadian Benefit Fund, and

George Beltz for the damages caused by their conduct and for all

sums paid to them by the Plan and/or the imposition of a

constructive trust on all such sums and any and all proceeds

from such sums, plus pre - and post- judgment interest thereon at

the maximum permissible legal rate ; and that the Court award

fiduciary the costs and expenses that have been incurred ;

     10 . For Fiduciary's attorneys' fees and costs incurred in

this action ; and

     11 . For such other relief as the Court deems appropriate .

                     VII . Demand For Jury Trial

               PLAINTIFF HEREBY DEMANDS A TRIAL BY JURY .




                                         Respectfully submitted,



                                         -Z J /' 7 tV
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